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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

 ROADGET BUSINESS PTE. LTD., a private limited
 company organized in the country of Singapore,

                       Plaintiff,
                                                           Case No.: 1:23-cv-16262
        v.

                                                           The Honorable Jeffrey I. Cummings
 THE INDIVIDUALS, CORPORATIONS,
 LIMITED LIABILITY COMPANIES,
 PARTNERSHIPS, AND UNINCORPORATED
 ASSOCIATIONS IDENTIFIED ON SCHEDULE
 A TO THE COMPLAINT,

                       Defendants.



                        NOTICE OF VOLUNTARY DISMISSAL
                  AS TO DEFENDANT KAMI CHILDRENS CLOTHING

       Please take notice that under Rule 41(a)(1)(A)(i) of the Federal Rules of Civil

Procedure, Plaintiff Roadget Business Pte. Ltd., by and through its undersigned attorneys,

voluntarily dismisses its claim against Defendant Yang Hai, d/b/a Kami childrens clothing (No. 9

on Schedule A to the Complaint) with prejudice. Defendant Yang Hai has not filed either an

answer or a motion for summary judgment in this action.
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Dated: April 26, 2024                   Respectfully submitted,

                                         /s/ Steven J. Horowitz
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